Case: 1:21-cv-00238-MRB Doc #: 61-1 Filed: 04/10/24 Page: 1 of 26 PAGEID #: 2557




                             UNITED STATES DISTRICT COURT
                              SOUTHERN DISTRICT OF OHIO
                                  WESTERN DIVISION

 PHILIP R. MCHUGH,
                                                      :    Case No. 1:21-cv-00238
                                Plaintiff,
                                                      :    Judge Michael R. Barrett
 v.

 FIFTH THIRD BANCORP, ET AL.                          : AFFIDAVIT OF JOSHUA M. SMITH,
                                                      : ESQ.
                               Defendants.


       Now comes Joshua M. Smith, Esq., Co-Counsel for Plaintiff, and for his Affidavit states

the following:

       1.        I am co-counsel for Plaintiff Philip R. McHugh.

       2.        Attached to this affidavit are true and accurate copies of the documents referenced

throughout Plaintiff's Reply in Support to Motion to Compel Production of Documents

Subpoenaed from RHR International, LTD ("RHR"), including Exhibits 1-3.

       3.        Exhibit 1 is a true and accurate copy of excerpts from Plaintiff's Request for

Production of Documents ("RFPDs") from November 2020 and Defendants' Response to

Plaintiff's RFPD #13.

       4.        Exhibit 2 is a true and accurate copy of correspondence from Plaintiff's counsel to

Defendants' counsel, dated September 8, 2021.

       5.        Exhibit 3 is a true and accurate copy of correspondence from Defendants' counsel

to Plaintiff's counsel, dated October 11, 2021.



                                                          Jos a M. Smi




                                                  1
Case: 1:21-cv-00238-MRB Doc #: 61-1 Filed: 04/10/24 Page: 2 of 26 PAGEID #: 2558




Sworn to and subscribed in my presence this                day of Apri.      2024.



                             Jessica Peterson
                     I  Notary Public, State of Ohio
                         My Commission Expires:
                     1'       June 29, 2026                  Not    Public
              :14Y                                           St e of Ohio




                                                       2
Case: 1:21-cv-00238-MRB Doc #: 61-1 Filed: 04/10/24 Page: 3 of 26 PAGEID #: 2559




                                            11O lo
                                                     ,1:1;zeirorrit:•:)
                                                 31;p!.;     ans,L
Case: 1:21-cv-00238-MRB Doc #: 61-1 Filed: 04/10/24 Page: 4 of 26 PAGEID #: 2560



               Request for Production No. 10: Please produce for inspection and/or copying the

final quarterly financial statements for each of the following divisions from January 1, 2015 through

date of response: (a) Regional Banking; (b) Middle Market Banking; (c) Business Banking, and

(d) Wealth & Asset Management.

               RESPONSE:



               Request for Production No. 11: Please produce for inspection and/or copying the

Bank's executive management organizational chart as it existed on October 1, 2020 and on

October 26, 2020.

               RESPONSE:



               Request for Production No. 12: Please produce for inspection and/or copying any

final or interim report, recommendation, or evaluation prepared for Bank by any consulting person

or firm the purpose of which was to vet Timothy N. Spence for the position of President of Fifth

Third Bank, or any other position in Executive Management at the Bank.

               RESPONSE:



               Request for Production No. 13: Please produce for inspection and/or copying the

engagement letter signed by or on behalf of the Bank with the consulting firm described in No. 12

above.

               RESPONSE:



               Request for Production No. 14: Please produce for inspection and/or copying the

minutes of the Fifth Third Bancorp ("Bancorp") Board meetings held in July-October, 2020.

               RESPONSE:




                                                 6

                                                                                    Exhibit 1
Case: 1:21-cv-00238-MRB Doc #: 61-1 Filed: 04/10/24 Page: 5 of 26 PAGEID #: 2561




       any of the issues in dispute in this case as framed by the parties’ pleadings, and is not
       proportional to the needs of this case. Fifth Third Bank objects to this Request because it
       is overly broad, unduly burdensome, and not reasonably limited in time or scope, and is
       therefore harassing and oppressive. Fifth Third Bank objects to this Request because it
       seeks confidential, private, or commercially sensitive business information that bears no
       relevance to this case as framed by the pleadings. Fifth Third Bank objects to this Request
       to the extent it seeks information protected by the attorney client-privilege and/or the
       attorney work product privilege. Fifth Third Bank objects to this Request on the grounds
       that the phrase “final or interim report, recommendation, or evaluation” is undefined,
       vague, and ambiguous, and is therefore subject to multiple interpretations. Fifth Third Bank
       objects to this Request to the extent it seeks information or documents not within its
       possession, custody, or control.

       Subject to and without waiver of its objections, Fifth Third Bank refers Plaintiff to the
       documents produced in response to Plaintiff’s First Set of Requests for Production of
       Documents, at Bates Numbers FIFTHTHIRD-MCHUGH 000952-001085.

       13.     Please produce for inspection and/or copying the engagement letter signed by or

on behalf of the Bank with the consulting firm described in No. 12 above.

       RESPONSE: Fifth Third Bank incorporates by reference herein its Preliminary Statement
       and General Objections. Fifth Third Bank objects to this Request because it is
       unreasonable, vexatious, harassing, and oppressive, in that the Request seeks information
       and documentation that is not relevant to any party’s claim or defense, is not relevant to
       any of the issues in dispute in this case as framed by the parties’ pleadings, and is not
       proportional to the needs of this case. Fifth Third Bank objects to this Request because it
       seeks confidential, private, or commercially sensitive business information that bears no
       relevance to this case as framed by the pleadings. Fifth Third Bank objects to this Request
       to the extent it seeks information protected by the attorney client-privilege and/or the
       attorney work product privilege.

       Subject to and without waiver of its objections, Fifth Third Bank refers Plaintiff to the
       documents produced in response to Plaintiff’s First Set of Requests for Production of
       Documents, at Bates Numbers FIFTHTHIRD-MCHUGH 001086-001096

       14.     Please produce for inspection and/or copying the minutes of the Fifth Third

Bancorp (“Bancorp”) Board meetings held in July-October, 2020.

       RESPONSE: Fifth Third Bank incorporates by reference herein its Preliminary Statement
       and General Objections. Fifth Third Bank objects to this Request because it seeks
       confidential, sensitive, private personal information and documentation from an individual
       who is not a named party to the within action, and is thus outside the proper scope of
       discovery. Fifth Third Bank objects to this Request to the extent it seeks information
       protected by the attorney client-privilege and/or the attorney work product privilege. Fifth

                                               11
Case: 1:21-cv-00238-MRB Doc #: 61-1 Filed: 04/10/24 Page: 6 of 26 PAGEID #: 2562




SSP &STAGNARO, SABA
       PATTERSON
Joshua M. Smith, Esq.
Email: jms@sspfirm.com
Phone: (513) 533-6715
Fax: (513) 533-2716

                                                   September 8, 2021

 VIA ELECTRONIC MAIL
 Michael L. Cioffi, Esq. (cioffi@blankrome.com)
 David J. Oberly, Esq. (DOberly@BlankRome.com)
 1700 PNC Center
 201 E. Fifth Street
 Cincinnati, Ohio 45202

                   Re:       Philip R. McHugh v. Fifth Third Bank Corp., et al.

Counsel:

        We have completed our initial review of Defendants’ responses and objections to
Plaintiff’s initial document requests, and it is apparent that a substantial number of the documents
requested by Plaintiff are either missing, improperly withheld, or redacted without explanation.
Given that we will need to resolve such deficiencies before we can begin taking relevant witness
depositions, we are writing in an attempt to resolve these issues immediately and without court
intervention. Moreover, please understand that this letter is not intended to encompass all
deficiencies in Fifth Third’s discovery responses. Discovery and our investigation into this matter
is ongoing, and Plaintiff reserves the right to identify any additional discovery issues as they arise.
Although, as discussed in more detail below, your claims of privilege are unfounded, we hereby
demand that defendants provide a log of all documents that defendants are withholding based upon
an alleged privilege.

       We ask that you please supplement the below discovery no later than September 22, 2021.
This correspondence is being sent to resolve these discovery issues without Court intervention.

                               Objections as to Confidentiality of Information

        Throughout many of your responses to the requests, you have made objections on the basis
that the documents contain “confidential, sensitive, private personal information” and
“commercially sensitive business information.” As you are well aware, we have already addressed
these concerns by agreeing to the Stipulated Protective Order which the Court entered on June 21,
2021. As such, there is no legitimate basis for you to either withhold documents or redact the same.
To the extent you have withheld documents on this basis, please produce them as the Stipulated
Protective Orders resolves such concerns.
                                                                                                      Exhibit 2
Attorneys licensed in Ohio, Kentucky, Indiana, Michigan and Florida I SSPFIRM.COM I 513.533.2700 I MAIN OFFICE
HYDE PARK SQUARE OFFICE 12623 ERIE AVE, CINCINNATI, OH 45208 I ANDERSON TOWNSHIP OFFICE 17373 BEECHMONT AVE, CINCINNATI, OH 45230
Case: 1:21-cv-00238-MRB Doc #: 61-1 Filed: 04/10/24 Page: 7 of 26 PAGEID #: 2563
Michael L. Cioffi, Esq.
David J. Oberly, Esq.
Philip R. McHugh v. Fifth Third Bank Corp., et al.
September 8, 2021
Page 2


                                       Specific Document Requests

Request for Production No. 1: The personnel file maintained by Fifth Third Bank (“Bank”) for
Gregory D. Carmichael from January 1, 2015 through date of response.

      You have objected on multiple bases, including claims that Defendant Carmichael is not a
comparator. Upon our review, it appears that you produced no responsive documents.

        Your objections are meritless. Mr. Carmichael is not only the decisionmaker in this age
discrimination and retaliation case, but he is also a party-defendant and held the position which
Plaintiff was denied. There is no question that Mr. Carmichael’s personnel file, including but not
limited to reviews of his performance, performance goals, complaints regarding his conduct, and
other materials pertinent to his employment at Fifth Third are relevant and discoverable.

        The case you reference in your objections—Lawroski v. Nationwide Mut. Ins. Co., 2012
U.S. Dist. LEXIS 178005 (S.D. Ohio 2012)—does not support your withholding of documents.
To the contrary, it makes clear that a plaintiff is entitled to discover documents contained in a
personnel file relevant to a case, including “any documents relating to performance expectations,
performance reviews, job objectives, hire and/or promotion decisions, qualifications, notes
pertaining to the interview and selection process, as well as any documents that would be
responsive to any of the other categories of documents Plaintiff seeks to compel.”

       Please produce the requested documents, or otherwise confirm your refusal to do so, so
that we may promptly seek Court intervention.

Request for Production No. 2: The personnel file maintained by Bank for Timothy N. Spence from
January 1, 2015 through date of response.

    Notwithstanding your objections, your response refers Plaintiff to “FIFTHTHIRD-
MCHUGH 000001-000267” as documents responsive to this request.

        Upon review, the designated documents are Mr. Spence’s offer letter, and a lengthy
PowerPoint presentation regarding consumer bank, payments and strategy. Obviously, this does
not include the entirety of Mr. Spence’s personnel file, including his performance reviews,
expectations, job objectives, hire and/or promotion decisions, qualifications, notes pertaining to
the interview and selection process, and other relevant documents to this case. While some
performance reviews appear throughout the documents produced, it does not appear that all have
been produced. At a minimum, this would also include the annual Employee Engagement Survey
Results and Customer Experience Scores for Mr. Spence.1


1
 To resolve any anticipated objections that these documents are not encompassed in Mr. Spence’s personnel file, we
are also submitting a formal discovery request for the referenced surveys/scores.
Case: 1:21-cv-00238-MRB Doc #: 61-1 Filed: 04/10/24 Page: 8 of 26 PAGEID #: 2564
Michael L. Cioffi, Esq.
David J. Oberly, Esq.
Philip R. McHugh v. Fifth Third Bank Corp., et al.
September 8, 2021
Page 3

       Please produce the requested documents, or otherwise confirm your refusal to do so, so
that we may promptly seek Court intervention.


Request for Production No. 3: The personnel file maintained by the Bank for Philip R. McHugh
from January 1, 2015 through date of response.

       Your response refers Plaintiff to “FIFTHTHIRD-MCHUGH 000285-000406.” While the
referenced documents appear to reflect some of the documents that would be encompassed in Mr.
McHugh’s personnel file, we do not see any of the annual Employee Engagement Survey Results
or Customer Experience Scores for Mr. McHugh.2

       Your citation to a decision by Magistrate Preston-Deavers in Nathan v. Ohio State Univ.
does not support the withholding of documents from Plaintiff’s personnel file, and in fact supports
our position in this case. In particular, Magistrate Deavers stated that such documents in a
personnel file “could include any documents relating to the comparators’ performance or
performance issues as well as any documents that would be responsive to any of the other
categories of documents Plaintiff seeks to compel in her Motion. For example, if a comparator’s
personnel file contained resident evaluations or rankings, Defendant must produce those
evaluations and rankings.”

       Please produce the requested documents, or otherwise confirm your refusal to do so, so
that we may promptly seek Court intervention.


Request for Production No. 4: The Outlook Inbox and Sent items on Philip R. McHugh’s desktop
or server, as the case may be, from oldest entry through most recent entry through date of response.

        You have objected on multiple bases, including claiming that Plaintiff’s own e-mails are
not relevant, and that requesting the same is unreasonable, vexatious, harassing, and oppressive.
Plaintiff’s own e-mails while employed by Defendant Fifth Third are relevant and discoverable,
particularly because this case concerns Fifth Third’s age-based decisions to select a substantially
younger individual over McHugh for promotion, a demotion of McHugh, and his subsequent
termination when he objected to the demotion. The e-mails he sent and received are evidence of
McHugh’s job performance and qualification, among other bases which make them discoverable.

        Further, you claim that the request is not by individual item or category; however, the claim
clearly request emails within Mr. McHugh’s inbox and sent folder on the server, which is
reasonably categorized. The e-mails can certainly be segregated out and submitted in a batch to
Plaintiff for purposes of discovery.


2
  To resolve any anticipated objections that these documents are not encompassed in Plaintiff McHugh’s personnel
file, we are also submitting a formal discovery request for the referenced surveys/scores.
Case: 1:21-cv-00238-MRB Doc #: 61-1 Filed: 04/10/24 Page: 9 of 26 PAGEID #: 2565
Michael L. Cioffi, Esq.
David J. Oberly, Esq.
Philip R. McHugh v. Fifth Third Bank Corp., et al.
September 8, 2021
Page 4

       Please produce the requested documents, or otherwise confirm your refusal to do so, so
that we may promptly seek Court intervention.

Request for Production No. 5: The Outlook Inbox and Sent items on Gregory D. Carmichael’s
desktop or server, as the case may be, that reference in any fashion Philip R. McHugh, the office
of President of the Bank, or any change in Executive Management at the Bank, from January 1,
2018 through date of response.

       Your objections appear to claim that the documents requested are not relevant and thus not
discoverable. That is baseless. Defendant Carmichael’s e-mails that reference Plaintiff, the
President of the Bank, and changes in Executive Management directly relate to the claims of failure
to promote on the basis of age—particularly the failure to promote Mr. McHugh in favor a
substantially younger and less-qualified individual.

Your citation to Lillard v. Univ. of Louisville is also off-base, and certainly does not support your
actions of withholding any responsive documents. Indeed, Lillard makes clear that the plaintiff is
entitled to any documents or communications which relate in any fashion to the plaintiff’s claims:

        In other words, the doctor certainly is entitled to all documents or communications
        that, for example, relate in any fashion to his claims of racial discrimination, hostile
        work environment, or retaliation – to mention several of the remaining claims that
        have survived the prior motion to dismiss filed by the University.

        Additionally, we note that one e-mail from Mr. Shaffer to Mr. Carmichael appears to lack
a recipient, a date, and the balance of the e-mail chain. The e-mail 9FIFTHTHIRD-MCHUGH-
006500) relates to a Draft Talent and Succession Deck for the Board. Please produce a complete
copy of the e-mail in its native format, along with any and all responses by Defendant Carmichael
and/or Mr. Shaffer.

       Please produce the requested documents, or otherwise confirm your refusal to do so, so
that we may promptly seek Court intervention.

Request for Production No. 6: The Outlook Inbox and Sent items on Timothy N. Spence’s desktop
or server, as the case may be, that reference in any fashion Philip R. McHugh, the office of
President of the Bank, or any change in Executive Management at the Bank, from January 1, 2018
through date of response.

       See our notations in response to your objections to Request for Production No. 5. Similar
to Defendant Carmichael, Mr. Spence’s e-mails regarding these topics are clearly relevant and
discoverable. Please produce the requested documents or confirm your intent not to do so such that
we can seek court intervention.
Case: 1:21-cv-00238-MRB Doc #: 61-1 Filed: 04/10/24 Page: 10 of 26 PAGEID #: 2566
Michael L. Cioffi, Esq.
David J. Oberly, Esq.
Philip R. McHugh v. Fifth Third Bank Corp., et al.
September 8, 2021
Page 5

       In your response, you also refer Plaintiff generally to the documents produced in response,
and indicate that this includes all “relevant, discoverable email messages responsive to this
Request.” Please provide the Bates Numbers where these documents exist.

        We note that there is an e-mail dated September 23, 2020 between Mr. Shaffer and Mr.
Spence regarding changes to an Executive Succession Planning Powerpoint (FIFTHTHIRD-
MCHUGH-006423), but the balance of the e-mail chain is missing. Please produce the entirety of
this e-mail chain, along with any and all other responsive documents.

Request for Production No. 7: Every annual review and self-evaluation regarding Gregory D.
Carmichael from January 1, 2015 through date of response.

       See our notations in response to your objections to Request for Production No. 1. Mr.
Carmichael is a decisionmaker and party-defendant to this case. Additionally, his annual reviews
and self-evaluations are clearly relevant to Plaintiff’s case, including the qualifications and
performance standards for the President and CEO of Defendant Fifth Third.

Request for Production No. 13: Please produce for inspection and/or copying the engagement
letter signed by or on behalf of the Bank with the consulting firm described in No. 12 above.

       Notwithstanding your objections, you refer to Bates Number “FIFTHTHIRD-MCHUGH
001086-001096.” Upon review, this appears to be a proposal by RHR International LLP on June
8, 2020 for the “Executive Assessment and Development/CEO Succession – Revised.” This is not
responsive to the request. Please produce a copy of any engagement letter signed by or on behalf
of the Bank. This would include, but not be limited to, the “Client Relationship Agreement”
referenced in the RHR International, LLP slides (see FIFTHTHIRD-MCHUGH 001211).

Request for Production No. 14: The minutes of the Fifth Third Bancorp (“Bancorp”) Board
meetings held in July-October, 2020.

        You indicate that this request seeks information protected by the attorney client-privilege
and/or the attorney work product privilege, and indicate that “at this time, Fifth Third Bank does
not have any non-privileged documents responsive to this Request.”

        We do not understand this response, particularly the implication that there are privileged
documents. The present lawsuit was not filed until October 28, 2020; the Board’s meetings from
July-October 2020 clearly did not entirely encompass attorney-client privileged discussions
surrounding this lawsuit nor were they in anticipation of litigation for purposes of work product
protection.

       Please produce the requested documents, or otherwise confirm your refusal to do so, so
that we may promptly seek Court intervention.
Case: 1:21-cv-00238-MRB Doc #: 61-1 Filed: 04/10/24 Page: 11 of 26 PAGEID #: 2567
Michael L. Cioffi, Esq.
David J. Oberly, Esq.
Philip R. McHugh v. Fifth Third Bank Corp., et al.
September 8, 2021
Page 6

Request for Production No. 18: Any and all reports, submissions, or recommendations received
or reviewed by the Human Capital and Compensation Board Committee from any member of Bank
Executive Management from January 1, 2015 through date of response addressing succession
planning or candidates for promotion within Executive Management at the Bank.

        In response, you refer us to documents with Bates Number “FIFTHTHIRD-MCHUGH
001457-005219.” Upon review, many of these documents appear to have been wholly redacted
and there is no indication why. Obviously neither Plaintiff nor his counsel can sufficiently review
the responsive documents where they have been completely redacted. We have a Stipulated
Protective Order to address any confidentiality concerns.

       Please produce the requested documents, or otherwise confirm your refusal to do so, so
that we may promptly seek Court intervention.

Request for Production No. 19: Any and all communications sent to, received from or otherwise
exchanged with the Office of the Comptroller of the Currency regarding the Bank’s plan for
succession of officers in Executive Management through date of response.

        Your response refers Plaintiff to “FIFTHTHIRD-MCHUGH 005220-005223” as
documents responsive to this request. Upon review, this batch of documents appears to be a 3-page
PowerPoint presentation regarding succession planning. Obviously, this would not include the
entirety of information sent or received from the comptroller regarding succession of officers,
including e-mails, letter correspondence, notes, budgeting plans and/or identified individuals.

       Please produce the requested documents, or otherwise confirm your refusal to do so, so
that we may promptly seek Court intervention.

Request for Production No. 20: Any and all manuals or instructions received from the Office of
Comptroller of the Currency which the Bank referenced or followed in connection with the
appointment of officers in Executive Management through date of response.

        See response to Request for Production No. 19. The appointment or planning of an
appointment of an individual requires instructions and manuals on how the individuals are
identified and their pay structure and are clearly relevant to the matter at hand.

       Please produce the requested documents, or otherwise confirm your refusal to do so, so
that we may promptly seek Court intervention.

Request for Production No. 21: Any communications exchanged with Lead Director Martha
Williams by officers in Executive Management from January 1, 2018 through date of response
which mention Philip R. McHugh or Timothy N. Spence, or their respective offices.

      Your response refers Plaintiff to “FIFTHTHIRD-MCHUGH 005197-005208” as
documents responsive to this request. Upon review, this batch of documents appears to be (i) a
Case: 1:21-cv-00238-MRB Doc #: 61-1 Filed: 04/10/24 Page: 12 of 26 PAGEID #: 2568
Michael L. Cioffi, Esq.
David J. Oberly, Esq.
Philip R. McHugh v. Fifth Third Bank Corp., et al.
September 8, 2021
Page 7

one-page email on September 11, 2018 regarding HCC Committee Materials, including for CEO
Emergency Succession Plan discussion; and (ii) what appear to be the “materials” attached to the
September 11, 2018 e-mail.

       The isolated email certainly does not encompass the entirety of the discussions with Ms.
Williams, in the last three years regarding Plaintiff, Mr. Spence, or their respective offices, given
she was a member of the HCC committee throughout this period, including on topics relating to
succession planning.

       Please produce the requested documents, or otherwise confirm your refusal to do so, so
that we may promptly seek Court intervention.

Request for Production No. 22: Any communications exchanged with Human Capital and
Compensation Committee Chair Michael McCallister by officers in Executive Management from
January 1, 2018 through date of response which mention Philip R. McHugh or Timothy N. Spence,
or their respective offices.

       Notwithstanding your objections, your response refers Plaintiff to “FIFTHTHIRD-
MCHUGH 005197-005208 and 005254-005255” as documents responsive to this request.
005197-5208 are the same documents you reference in Request for Production No. 21; 5254-5255
appear to be two pages from an e-mail on June 28, 2019 from Fifth Third Bulletin Intelligence to
Phil McHugh, with no mention of Mr. McAllister.

       The isolated email certainly does not encompass the entirety of the discussions with Mr.
McCallister, the chair of the HCC committee, in the last three years regarding Plaintiff, Mr.
Spence, or their respective offices, especially given that yearly succession planning was occurring
during this period.

Please produce the requested documents, or otherwise confirm your refusal to do so, so that we
may promptly seek Court intervention.

Request for Production No. 23: Any documents, text messages, emails, or other electronic
communications sent or received by Gregory Carmichael from January 1, 2018 through date of
response which mention Philip R. McHugh.

        Notwithstanding your objections, your response refers Plaintiff to “FIFTHTHIRD-
MCHUGH 005226-5248” as documents responsive to this request. 5226-5236 is an e-mail chain
between Defendant Carmichael and Bryan Daniels (board member); 5239-5242 is an e-mail
invitation from Melissa Stevens to numerous individuals for the “Fifth Third Payments &
Innovation Showcase” on July 18, 2018; 5243-5248 are similar e-mail invitations. Not one text
message has been produced.

      Clearly, you have withheld documents from production, including the entirety of
Defendant Carmichael’s text messages, and numerous e-mails which would mention Philip R.
Case: 1:21-cv-00238-MRB Doc #: 61-1 Filed: 04/10/24 Page: 13 of 26 PAGEID #: 2569
Michael L. Cioffi, Esq.
David J. Oberly, Esq.
Philip R. McHugh v. Fifth Third Bank Corp., et al.
September 8, 2021
Page 8

McHugh. There are obviously text messages given that Plaintiff has produced the same between
himself and Defendant Carmichael. Your objections as to overbreadth are also baseless, given that
you have made the same type of request that Plaintiff produce all of his text messages which in
any way reference Fifth Third, and he has done so.

       Please produce the requested documents, or otherwise confirm your refusal to do so, so
that we may promptly seek Court intervention.

Request for Production No. 24: Any documents, text messages, emails, or other electronic
communications sent or received by Timothy N. Spence from January 1, 2018 through date of
response which mention Philip R. McHugh.

        You indicate that “Fifth Third Bank does not have any non-privileged documents
responsive to this request.” This is clearly not the case, given that Plaintiff has already produced
text messages between himself and Mr. Spence. Beyond that, per Fifth Third Mr. Spence was being
“vetted” to be the President and CEO of the Bank, and as part of this process he became President
in October 2020 and was taking over Mr. McHugh’s lines of business. An assertion that there are
no communications whatsoever which reference Mr. McHugh and/or this decision is beyond
belief.

       Please produce the requested documents, or otherwise confirm your refusal to do so, so
that we may promptly seek Court intervention.

Request for Production No. 25: any documents, text messages, emails, or other electronic
communications sent or received by Robert Shaffer from January 1, 2018 through date of response
which mention Philip R. McHugh.

        Your response refers Plaintiff to “FIFTHTHIRD-MCHUGH 005237-005248 and 005273-
005258” as documents responsive to this request. Upon review, this batch of documents appears
to be a few emails and no other communications, including no text messages. Obviously, there are
text messages concerning Mr. McHugh, given that Plaintiff has already produced such text
messages in response to your requests.

Please produce the requested documents, or otherwise confirm your refusal to do so, so that we
may promptly seek Court intervention.

Request for Production No. 28: The electronic calendar maintained by Gregory D. Carmichael
from January 1, 2018 through date of response.

       You state that the term “electronic calendar” is undefined and have apparently refused
production on that basis among others, including that the request is not relevant.

        First, an electronic version of a calendar is a clear term, but for purposes of additional
clarification we are seeking Defendant Carmichael’s calendar throughout the relevant period,
Case: 1:21-cv-00238-MRB Doc #: 61-1 Filed: 04/10/24 Page: 14 of 26 PAGEID #: 2570
Michael L. Cioffi, Esq.
David J. Oberly, Esq.
Philip R. McHugh v. Fifth Third Bank Corp., et al.
September 8, 2021
Page 9

including any maintained in Microsoft Outlook or any other software which Defendant Carmichael
or his executive assistant utilizes for purposes of scheduling meetings, conferences, and the like.

        Second, the content of Defendant Carmichael’s calendar is clearly relevant and
discoverable, as it will assist in establishing the dates of various meetings, conferences, and other
events related to this litigation (i.e., meetings with Mr. Shaffer, Mr. Spence, Mr. McHugh, board
members, etc.).

       Please produce the requested documents, or otherwise confirm your refusal to do so, so
that we may promptly seek Court intervention.

Request for Production No. 29: The electronic calendar maintained by Timothy N. Spence from
January 1, 2018 through date of response.

        See response to Request for Production No. 28. Please produce the requested documents,
or otherwise confirm your refusal to do so, so that we may promptly seek Court intervention.

Request for Production No. 30: Any writings of any kind or any electronic messages of any kind
authored by Gregory D. Carmichael from January 1, 2018 through date of response which
mention Philip R. McHugh and the position of President and Chief Executive Officer, or interim
President and Chief Executive Officer.

       You indicate that “Fifth Third Bank does not have any non-privileged documents
responsive to this Request.” This claim is contradicted by Fifth Third and Carmichael’s joint
Answer to the Complaint, in which Mr. Carmichael admits he inquired to Plaintiff whether he
would be interested in being “recommended to Fifth Third Bank’s Board of Directors as a potential
emergency, interim CEO for Fifth Third Bank…” (¶ 15). To be clear, the Bank is now claiming
(disingenuously, we believe) that despite having this conversation with Plaintiff Mr. Carmichael
has no communications of any kind relating to this recommendation, including with Board
members, Mr. Shaffer, Mr. Spence, or any other individual.

       Please produce the requested documents, or otherwise confirm your refusal to do so, so
that we may promptly seek Court intervention.

Request for Production No. 31: Any writing of any kind or any electronic messages of any kind
authored by Timothy N. Spence from January 1, 2018 through date of response which mention
Philip R. McHugh and the position of President and Chief Executive Officer, or interim President
and Chief Executive Officer.

        Again, you indicate that “Fifth Third Bank does not have any non-privileged documents
responsive to this Request.” Similar to Request for Production No. 30, the claim is contradicted
by Fifth Third repeated indications that Mr. Spence was selected for the position of President after
“many months of succession planning.” (Counterclaim ¶ 10). Indeed, the Bank claims this was
“widely known across the Bank.” (¶ 11). For the Bank to now claim that Mr. Spence has no written
Case: 1:21-cv-00238-MRB Doc #: 61-1 Filed: 04/10/24 Page: 15 of 26 PAGEID #: 2571
Michael L. Cioffi, Esq.
David J. Oberly, Esq.
Philip R. McHugh v. Fifth Third Bank Corp., et al.
September 8, 2021
Page 10

communications whatsoever which mention Plaintiff and the position of President and CEO, or
interim President and CEO, is simply disingenuous.

       Please produce the requested documents, or otherwise confirm your refusal to do so, so
that we may promptly seek Court intervention.

Request for Production No. 32: Any writing of any kind or any electronic messages of any kind
authored by Gregory D. Carmichael from January 1, 2015 through date of response which
mention Timothy N. Spence and the position of President and Chief Executive Officer, or interim
President and Chief Executive Officer.

       You responded that “Fifth Third Bank does not have any non-privileged documents
responsive to this Request.” See our notations in response to your objections to Request for
Production No. 30-31. Clearly, the Bank alleges that Mr. Spence was “vetted” for President “after
many months of succession planning.” Please produce communications from Defendant
Carmichael which mention Mr. Spence and this position (President) for which he was vetted.

       Please produce the requested documents, or otherwise confirm your refusal to do so, so
that we may promptly seek Court intervention.

Request for Production No. 34: any writing of any kind or any electronic messages of any kind
which relate or refer to the decision to place Philip R. McHugh into the position of Head of Fifth
Third Consumer Bank in 2020.

       Your response refers Plaintiff to “FIFTHTHIRD-MCHUGH 006710-006711” as
documents responsive to this request. Upon review, this batch of documents appears to be an
organizational chart from 2018. Obviously, this does not include the entirety of the
communications about Mr. McHugh and the decision to place him in the position of Head of Fifth
Third Consumer Bank.

       Please produce the requested documents, or otherwise confirm your refusal to do so, so
that we may promptly seek Court intervention.

Request for Production No. 35: Any writing of any kind or any electronic messages of any kind
which relate or refer to the decision to name Timothy N. Spence Head of Fifth Third Consumer
Bank in August 2018.

        You responded that “Fifth Third Bank does not have any non-privileged documents
responsive to this Request.” Clearly, a decision was made at some point to name Mr. Spence Head
of the Consumer Bank, and this occurred in August 2018. Fifth Third’s assertion that no writing
or messages of any kind exist relating to this decision is difficult if not impossible to believe.

       Please produce the requested documents, or otherwise confirm your refusal to do so, so
that we may promptly seek Court intervention.
Case: 1:21-cv-00238-MRB Doc #: 61-1 Filed: 04/10/24 Page: 16 of 26 PAGEID #: 2572
Michael L. Cioffi, Esq.
David J. Oberly, Esq.
Philip R. McHugh v. Fifth Third Bank Corp., et al.
September 8, 2021
Page 11


Request for Production No. 37: Any kind or any electronic messages of any kind made by Mr.
Carmichael which relate or refer to Plaintiff’s annual performance review in or around February
2020, including but not limited to the claim that Mr. Carmichael informed plaintiff that the Board
of Directors was no longer considering any interim CEO contingency plans.

       Notwithstanding your objections, your response refers Plaintiff to “FIFTHTHIRD-
MCHUGH 007129” as the single document responsive to this request. Upon review, this document
appears to be an email dated April 8, 2019 regarding Kathy Fahey in the Accounting Department
celebrating her 50th anniversary. Obviously, this has nothing to do with Plaintiff’s February 2020
performance review.

Please produce the requested documents, or otherwise confirm your refusal to do so, so that we
may promptly seek Court intervention.

Request for Production No. 38: Any writing of any kind or any electronic messages of any kind
which relate or refer to the conversation between Mr. Carmichael and plaintiff on October 13,
2020, including but not limited to the claim that Mr. Carmichael informed plaintiff that he believed
plaintiff was the best fit to step into the Head of Consumer Bank Role, and that if plaintiff continued
with the company as Head of Consumer Bank through the end of 2020, he would become a Named
Executive Officer in the Bank’s 2021 Proxy Statement.

        Notwithstanding your objections, your response refers Plaintiff to “FIFTHTHIRD-
MCHUGH 007130-007131” as the documents responsive to this request. Upon review, these
documents appear to be an e-mail chain between Plaintiff and Mr. Spence. No other responsive
documents were produced. Please produce all responsive documents, or to the extent you claim
that no other documents exist, please confirm the same.

Request for Production No. 40: Any writing of any kind or any electronic messages of any kind
which relate or refer to the meeting between Mr. Shaffer and plaintiff, including but not limited to
the claim that Mr. Shaffer “reiterated the Board of Directors’ interest in plaintiff taking over the
Head of Consumer Bank role.”

       Notwithstanding your objections, your response refers Plaintiff to “FIFTHTHIRD-
MCHUGH 007132” as documents responsive to this request. Upon review, this batch of
documents appears to be a 2019 pay for performance sheet for Phil McHugh, which is not
responsive to the request.

       Please produce the requested documents, or otherwise confirm your refusal to do so, so
that we may promptly seek Court intervention.

Request for Production No. 42: Any writing of any kind or any electronic messages of any kind
sent to or received by any members of the Board of Directors of Fifth Third Bank which relate or
Case: 1:21-cv-00238-MRB Doc #: 61-1 Filed: 04/10/24 Page: 17 of 26 PAGEID #: 2573
Michael L. Cioffi, Esq.
David J. Oberly, Esq.
Philip R. McHugh v. Fifth Third Bank Corp., et al.
September 8, 2021
Page 12

refer to the “many months of succession planning” prior to Timothy Spence being vetted for the
position of President at Fifth Third Bancorp.

       You responded that “Fifth Third Bank does not have any non-privileged documents
responsive to this Request.” Clearly, there are written communications between the Board of
Directors and/or executives regarding the succession planning that Fifth Third alleges it engaged
in.

       Please produce the requested documents, or otherwise confirm your refusal to do so, so
that we may promptly seek Court intervention.



                                                Sincerely,

                                                STAGNARO, SABA
                                                & PATTERSON CO., L.P.A.

                                             r__ In 947P4
                                                Joshua M. Smith, Esq.


Cc:     Peter A. Saba
        John J. McHugh III
        Philip R. McHugh
Case: 1:21-cv-00238-MRB Doc #: 61-1 Filed: 04/10/24 Page: 18 of 26 PAGEID #: 2574

BLANKROME
1700 PNC Center
201 East Fifth Street |Cincinnati, OH 45202
blankrome.com



Phone:         (513) 362-8701

Fax:           (513) 362-8702

Email:         michael.cioffi@blankrome.com




                                               October 11, 2021


Joshua M. Smith
STAGNARO, SABA & PATTERSON
2623 Erie Avenue
Cincinnati, Ohio 45208
jms@sspfirm.com

         RE:       McHugh v. Fifth Third Bancorp, et al.
                   U.S. Dist. Court for the Southern District of Ohio No. 1:21-cv-00238-MRB

Josh:

       Allow the following to serve as Fifth Third Bank, National Association’s (the “Bank”)
response to your September 8, 2021 letter regarding the Bank’s responses to Plaintiff Philip
McHugh’s (“Plaintiff”) First Set of Requests for Production of Documents (“Requests”).

                        The Bank’s Objections to Plaintiff’s Document Requests

         As a preliminary matter, and to address your letter’s discussion regarding the Bank’s
“Objections as to Confidentiality of Information,” it should be noted that while the Bank stated its
objections to Plaintiff’s document requests in its written responses to Plaintiff’s Requests, the Bank
did not withhold any documents based on the attorney-client privilege or the work product
doctrine. Nor did it withhold any documents based on objections raised relating to “confidential,
sensitive, private personal information” or “commercially sensitive business information” as your
letter suggests. 1

        Moreover, any suggestion that the Bank’s practice of raising objections and then answering
over them in its written responses is in any way improper is baseless and lacks merit. As a general
rule, Rule 34 of the Federal Rules of Civil Procedure provides that the failure to object to discovery
requests constitutes a waiver of any objection. 2 Moreover, “the plain language of [Rule

1
 See Plaintiff’s September 8, 2021 Discovery Letter (“Plaintiff Discovery Letter”) at 1.
2
 Carfagno v. Jackson National Life Ins. Co., 2001 WL 34059032, at *1 (W.D. Mich. Feb. 13,
2001) (collecting cases).


                                                                                 Exhibit 3
Case: 1:21-cv-00238-MRB Doc #: 61-1 Filed: 04/10/24 Page: 19 of 26 PAGEID #: 2575

BLANKROME
Joshua M. Smith
October 11, 2021
Page 2
34(b)(2)(C)] permits a party to assert its objections, then answer the discovery request to the extent
it does not want to raise [the] objection.” 3

       In this case, a review of the Bank’s objections, when read together with its written
responses and the documents it has produced, reveals a prosaic approach taken by the Bank that
avoids any waiver of potentially valid reasons for declining to produce discovery, while otherwise
responding to Plaintiff’s Requests—which is clearly permissible under Rule 34. 4

                                  Request for Production No. 1

        With respect to Plaintiff’s Request for Production No. 1, your argument that Plaintiff is
entitled to discovery of Mr. Carmichael’s personnel file records lacks even a scintilla of merit.

        At the outset, it is important to clarify the what constitutes “relevant” evidence under Rule
26 of the Federal Rules of Civil Procedure, as it appears as though your objections to the Bank’s
document production is based on an erroneous understanding of this concept. Under the 2015
amendment to Civil Rule 26(b)(1), “[p]arties may obtain discovery regarding any nonprivileged
matter that is relevant to any party’s claim or defense and proportional to the needs of the case.” 5
The proportionality factors are “the importance of the issues at stake in the action, the amount in
controversy, the parties’ relative access to relevant information, the parties’ resources, the
importance of discovery in resolving the issues, and whether the burden or expense of the proposed
discovery outweighs its likely benefit.” 6

        As a result of the 2015 amendments, Rule 26(b)(1) now provides for a more narrow scope
of permissible discovery that limits discoverable evidence to that which is “relevant to any party’s
claim or defense and proportional to the needs of the case.” Consequently, no longer is the phrase
“relevant to the subject matter involved in the pending action” applicable to determining the scope
of permissible discovery in federal litigation. 7 Importantly, “[this 2015] rule change signals to the
court that it has the authority to confine discovery to the claims and defenses asserted in the
pleadings, and signals to the parties that they have no entitlement to develop new claims that are
not already identified in the pleadings.” 8



3
  Wilkinson v. Greater Dayton Regional Transit Authority, 2012 WL 3527871, at *12 (S.D. Ohio
Aug. 14, 2012).
4
  See id.
5
  Fed. R. Civ. P. 26(b)(1).
6
  Id.
7
  Id. (emphasis added); see also Oppenheimer Fund, Inc. v. Sanders, 437 U.S. 340, 351 (1978)
(discussing the “key phrase” of the prior version of Rule 26(b)(1)).
8
  Rule 26, Advisory Committee Notes (2015).
Case: 1:21-cv-00238-MRB Doc #: 61-1 Filed: 04/10/24 Page: 20 of 26 PAGEID #: 2576

BLANKROME
Joshua M. Smith
October 11, 2021
Page 3
       Applied to this case, the discovery you seek from the Bank must be relevant to the claims
or defenses asserted by the parties in this action, as well as proportional to the needs of the case.
Throughout your letter, however, you indicate that Plaintiff is entitled to all evidence that may in
any way relate to the subject matter of this case. This is simply incorrect.

         Turning now to your discussion of Request No. 1, as you indicate yourself in your
September 8 letter, Mr. Carmichael is not a comparator to Plaintiff in this age discrimination suit,
but rather a supervisor or decisionmaker. 9 On this fact alone, Mr. Carmichael’s personnel file
records fall outside the scope of Rule 26(b)(1). Specifically—and contrary to the assertions made
in your letter—only the personnel records of comparators are relevant in this particular instance.
For example, in Nathan v. Ohio State University, the court limited the production of personnel
files to only those documents in comparators’ files that fell within the bounds of Rule 26(b)(1),
explaining that “personnel files might contain highly personal information, including information
concerning ‘other work-related problems unrelated to [Plaintiff’s] claims.’” 10

        At bottom, there is no colorable basis for you or your client to argue you are for any reason
entitled to discovery of any portion of Mr. Carmichael’s personnel file. Rather, the only reasonable
conclusion to draw is that Plaintiff seeks to obtain these documents for a vexatious purpose;
specifically, to harass, badger, and intimidate Mr. Carmichael in order to coerce the Bank to behave
how Plaintiff desires—further demonstrating your client’s continued pursuit of perverting the
judicial process for an improper purpose—the textbook definition of “abuse of process.” 11

                                  Request for Production No. 2

       Contrary to the contentions asserted in your letter, the Bank has produced all personnel file
documents of Timothy Spence (“Mr. Spence”) in its possession, custody, or control. The non-
review/evaluation portion of Mr. Spence’s personnel file has been produced at FifthThird-McHugh
000001-000267. All performance reviews and evaluations of Mr. Spence have been produced at
FifthThird-McHugh 000407-000518.




9
  See Plaintiff Discovery Letter at 2.
10
   Nathan v. Ohio State Univ., 2013 WL 2948358, at *3 (S.D. Ohio June 14, 2013) (citing Knoll
v. American Tel. & Tel. Co., 176 F.3d 359, 365 (6th Cir. 1999)); see also Lawroski v. Nationwide
Mut. Ins. Co., 2012 WL 6568230, at *5 (S.D. Ohio Dec. 17, 2012) (citing Knoll, 176 F.3d at 365).
11
   See Bank Counterclaim, ¶¶ 1-2; Trussell v. Gen. Motors Corp., 53 Ohio St.3d 142, 144 (1990)
(citing Pope v. Pollack 46 Ohio St. 367, 368-71 (1989)); Prosser & Keeton on Torts (5 Ed.1984)
898, Section 121 (in an abuse of process case, “[t]he improper purpose usually takes the form of
coercion to obtain a collateral advantage, not properly involved in the proceeding itself, such as
the surrender of property or the payment of money, by the use of the process as a threat or a club.”).
Case: 1:21-cv-00238-MRB Doc #: 61-1 Filed: 04/10/24 Page: 21 of 26 PAGEID #: 2577

BLANKROME
Joshua M. Smith
October 11, 2021
Page 4
                                  Request for Production No. 3

       Please see the Bank’s discussion relating to Request No. 2, which is equally applicable to
the Bank’s response to Request No. 3. The entirety of Plaintiff’s non-review/evaluation personnel
records in the Bank’s possession, custody, or control have been produced at FifthThird-McHugh
000285-000406 and all evaluations and reviews have been produced at FifthThird-McHugh
000469-000862.

                                  Request for Production No. 4

        It is beyond argument that Plaintiff’s request for the production of all email correspondence
sent and received by Plaintiff—over the course of his decades-long career at the Bank—is
egregiously overbroad and extends well beyond the bounds of Rule 26(b)(1). This is because
compliance with this request would force the Bank produce thousands upon thousands of emails
that are wholly unrelated to any claim or defense asserted in this action. Not only that, but even
assuming arguendo the entirety of Plaintiff’s email correspondence somehow fell within the
permissible scope of discovery, the production of thousands of emails that have no application
whatsoever to this litigation would also constitute a severe violation of the proportionality
requirements of Rule 26(b)(1).

        With that said, the Bank has produced all emails in its possession, custody, or control sent
or received by Plaintiff which are relevant to the claims or defenses asserted in this case as part of
its July 30, 2021 document production. Please see FifthThird-McHugh 000562-000862, 006712,
007130, 007141, and 007146.

                                  Request for Production No. 5

       Please see the Bank’s discussion relating to Request No. 1, which is equally applicable to
the Bank’s response to Request No. 5.

        With that said, the Bank has produced a number of emails in its possession, custody, or
control that were sent or received by Mr. Carmichael and which are relevant and responsive to
Request No. 5 as part of its July 30, 2021 document production. Please see FifthThird-McHugh
001061-001070, 005226-005236, and 005348-007128.

        Lastly, you are mistaken that the email authored by Bob Shaffer (“Mr. Shaffer”) to Mr.
Carmichael (at FifthThird-McHugh 006500) which you discuss in your letter lacks the balance of
the email chain. 12 The attachment that you claim is missing from the Bank’s document production
can be found at FifthThird-McHugh 006502-006551.


12
     Discovery Response Letter at 4.
Case: 1:21-cv-00238-MRB Doc #: 61-1 Filed: 04/10/24 Page: 22 of 26 PAGEID #: 2578

BLANKROME
Joshua M. Smith
October 11, 2021
Page 5
                                 Request for Production No. 6

       The Bank has produced all emails in its possession, custody, or control that were sent or
received by Mr. Spence and which are relevant and responsive to Request No. 6 as part of its July
30, 2021 document production. Please see FifthThird-McHugh 007130.

       Further, you are mistaken that the email authored by Mr. Spence (at FifthThird-McHugh
006423) which you discuss in your letter lacks the balance of the email chain. 13 The attachment
that you claim is missing from the Bank’s document production can be found at FifthThird-
McHugh 006439-006462.

                                 Request for Production No. 7

       Please the Bank’s discussion of Request No. 1, which is equally applicable to the Bank’s
response to Request No. 7.

                                 Request for Production No. 13

        The Bank has produced the only engagement letter in its possession, custody, or control
pertaining to the 2020 CEO succession vetting and evaluation process completed by RHR
International as part of its July 30, 2021 document production. Contrary to your contentions, there
is no engagement letter “signed by or on behalf of the Bank” or any “Client Relationship
Agreement.” 14

                                 Request for Production No. 14

        The Bank is currently in the process of obtaining the Board meeting minutes that are the
subject of this Request. We will provide you with these documents as soon as they are obtained
by our client.

                                 Request for Production No. 18

       As discussed at the outset of this response, the Bank has not withheld or otherwise redacted
any documents under any objection relating to “confidential, sensitive, private personal
information” or “commercially sensitive business information.” 15 Rather, portions of the Bank’s
July 30, 2021 document production have been redacted solely on the basis that these pages are
wholly irrelevant to any claim or defense asserted in this action and thus outside the scope of Rule

13
   Id. at 5.
14
   Id.; see also Baker v. County of Missaukee, 2013 WL 5786899, at *18 (W.D. Mich. Oct. 28,
2013) (noting that a party cannot be ordered to produce documents which do not exist).
15
   See Plaintiff Discovery Letter at 1.
Case: 1:21-cv-00238-MRB Doc #: 61-1 Filed: 04/10/24 Page: 23 of 26 PAGEID #: 2579

BLANKROME
Joshua M. Smith
October 11, 2021
Page 6
26(b)(1). Just a few examples of the wholly irrelevant documents that have been redacted are: (1)
the Bank’s Corporate Policy Regarding Insider Trading and Section 16 Reporting; (2) the Bank’s
401(k) Savings Plan; and (3) the Bank’s Unfunded Deferred Compensation Plan for Non-
Employee Directors.

                                 Request for Production No. 19

        The Bank has produced all documents in its possession, custody, or control that are relevant
and responsive to Request No. 19 as part of its July 30, 2021 document production. Contrary to
your contentions, the Bank does not possess/control any other communications with the Office of
the Comptroller of the Currency (“OCC”) that relate in any way to succession planning or any of
the claims or defenses asserted in this case.

                                 Request for Production No. 20

       As stated in its July 30, 2021 written responses to Plaintiff’s Requests, the Bank has no
documents in its possession, custody, or control that are relevant and responsive to Request No.
20. 16

                                 Request for Production No. 21

      The Bank has produced all communications in its possession, custody, or control involving
Marsha Williams and which are relevant and responsive to Request No. 21 as part of its July 30,
2021 document production. Please see FifthThird-McHugh 001457-001463, 001465-001670,
005197-005219, and 005725-005776.

                                 Request for Production No. 22

       The Bank has produced all communications in its possession, custody, or control involving
Mike McCallister and which are relevant and responsive to Request No. 22 as part of its July 30,
2021 document production. Please see FifthThird-McHugh 001457-001670, 005197-005219, and
005725-005776.

                                 Request for Production No. 23

        The Bank has produced communications in its possession, custody, or control involving
Mr. Carmichael that mention Plaintiff and which are relevant and responsive to Request No. 23 as
part of its July 30, 2021 document production at FifthThird-McHugh 005398 and 006414.


 Baker, 2013 WL 5786899, at *18 (noting that a party cannot be ordered to produce documents
16

which do not exist).
Case: 1:21-cv-00238-MRB Doc #: 61-1 Filed: 04/10/24 Page: 24 of 26 PAGEID #: 2580

BLANKROME
Joshua M. Smith
October 11, 2021
Page 7
       In addition, please also see the attached documents responsive to Request No. 23 at
FifthThird-McHugh 007179-007187 and 007190.

                                Request for Production No. 24

      Please see the attached documents responsive to Request No. 24 at FifthThird-McHugh
007179-007182.

                                Request for Production No. 25

         The Bank has produced communications in its possession, custody, or control involving
Mr. Shaffer that mention Plaintiff and which are relevant and responsive to Request No. 25 as part
of its July 30, 2021 document production at FifthThird-McHugh 005398, 006260, and 006414.

       In addition, please also see the attached documents responsive to Request No. 25 at
FifthThird-McHugh 007179-007190.

                                Request for Production No. 28

       Please the Bank’s discussion of Request No. 1, which is equally applicable to the Bank’s
response to Request No. 28. Moreover, in addition to being wholly irrelevant, the production and
disclosure of Mr. Carmichael’s personal calendar would constitute a severe violation of Mr.
Carmichael’s privacy interests.

                                Request for Production No. 29

        Similar to Request No. 28, Request No. 29 is plainly improper as it seeks a significant
amount of irrelevant information that extends far beyond Rule 26(b)(1)’s permissible scope of
discovery. At the same time, the production and disclosure of Mr. Spence’s personal calendar—a
non-party to this litigation—would also constitute a severe violation of Mr. Spence’s privacy
interests.

                                Request for Production No. 30

      As stated in its July 30, 2021 written responses to Plaintiff’s Requests, the Bank has no
documents in its possession, custody, or control that are relevant and responsive to Request No.
30.
Case: 1:21-cv-00238-MRB Doc #: 61-1 Filed: 04/10/24 Page: 25 of 26 PAGEID #: 2581

BLANKROME
Joshua M. Smith
October 11, 2021
Page 8
                                Request for Production No. 31

       As stated in its July 30, 2021 written responses to Plaintiff’s Requests, the Bank has no
documents in its possession, custody, or control that are relevant and responsive to Request No.
31. Further, the factual premise for your objection to this Request is mistaken.

                                Request for Production No. 32

       As stated in its July 30, 2021 written responses to Plaintiff’s Requests, the Bank has no
documents in its possession, custody, or control that are relevant and responsive to Request No.
32. Further, the factual premise for your objection to this Request is mistaken.

                                Request for Production No. 34

        The Bank has produced all communications in its possession, custody, or control relating
to the decision to name Plaintiff as Head of Consumer Bank in 2020 and which are relevant and
responsive to Request No. 34 as part of its July 30, 2021 document production. Please see
FifthThird-McHugh 005350-005373, 005380, 005852-005878, 006710-006711, and 006812-
006835.

                                Request for Production No. 35

        The Bank has produced all communications in its possession, custody, or control relating
to the decision to name Mr. Spence as Head of Consumer Bank in 2018 and which are relevant
and responsive to Request No. 35 as part of its July 30, 2021 document production. Please see
FifthThird-McHugh 006710.

                                Request for Production No. 37

        The Bank has produced writings, communications, or documents in its possession, custody,
or control relating to Plaintiff’s annual performance review in or around February 2020 and which
are relevant and responsive to Request No. 37 as part of its July 30, 2021 document production.
Please see FifthThird-McHugh 000845.

       In addition, please also see the attached documents responsive to Request No. 37 at
FifthThird-McHugh 007191-007203.

                                Request for Production No. 38

       The Bank has produced all writings or messages relating or referring to the October 13,
2020 conversation between Plaintiff and Mr. Carmichael and which are relevant and responsive to
Case: 1:21-cv-00238-MRB Doc #: 61-1 Filed: 04/10/24 Page: 26 of 26 PAGEID #: 2582

BLANKROME
Joshua M. Smith
October 11, 2021
Page 9
Request No. 38 as part of its July 30, 2021 document production. Please see FifthThird-McHugh
007130-007131.

       It should be noted that contrary to your differing opinion, this email chain between Mr.
Spence and Plaintiff is clearly responsive Request No. 38, as it references conversations engaged
in between Plaintiff and Mr. Carmichael on or around October 13, 2020.

                                Request for Production No. 40

       The Bank has produced writings/documents in its possession, custody, or control involving
the October 2020 meeting between Mr. Shaffer and Plaintiff and are relevant and responsive to
Request No. 40 as part of its July 30, 2021 document production at FifthThird-McHugh 007132.
Further, the factual premise for your objection to this Request is mistaken.

       In addition, please also see the attached documents responsive to Request No. 40 at
FifthThird-McHugh 7188-7189.

                                Request for Production No. 42

       As stated in its July 30, 2021 written responses to Plaintiff’s Requests, the Bank has no
documents in its possession, custody, or control that are relevant and responsive to Request No.
42. With that said, please see the documents produced as part of its July 30, 2021 document
production at FifthThird-McHugh 001033-001070, 005225, and 005348-007128—which relate to
the 2020 CEO succession planning, vetting, and evaluation process in which the Board was heavily
involved due to its role as the ultimate decisionmaker in selecting any successor CEO.

                                                    Very truly yours,

                                                    /s/ Michael L. Cioffi

                                                    Michael L. Cioffi

cc:    David J. Oberly (Blank Rome LLP)
